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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY


 THOMAS R. ROGERS., et al.,                 )
                                            )    Civil Action No. 18-1544
                  Plaintiffs,               )
                                            )    Judge Brian R. Martinotti
      v.
                                            )    Magistrate Judge Douglas E. Arpert
 GURBIR GREWAL, et al.,                     )
                                            )    Motion Day: May 7, 2018
                  Defendants.               )


                  PLAINTIFFS’ BRIEF IN OPPOSITION
                 TO DEFENDANTS’ MOTION TO DISMISS


 David H. Thompson*                             Daniel L. Schmutter
 Peter A. Patterson*                            HARTMAN & WINNICKI, P.C.
 John D. Ohlendorf*                             74 Passaic Street
 COOPER & KIRK, PLLC                            Ridgewood, New Jersey 07450
 1523 New Hampshire Avenue, N.W.                (201) 967-8040
 Washington, D.C. 20036                         (201) 967-0590 (fax)
 (202) 220-9600                                 dschmutter@hartmanwinnicki.com
 (202) 220-9601 (fax)
 dthompson@cooperkirk.com

    *Appearing pro hac vice

                                Attorneys for Plaintiffs
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                                  INTRODUCTION

       At the core of the Second Amendment lies “the individual right to possess and

 carry weapons in case of confrontation.” District of Columbia v. Heller, 554 U.S.

 570, 592 (2008). When the people elevated that right into the Nation’s fundamental

 charter, they did not mean to leave the freedom to exercise it at the mercy of the very

 government officials whose hands they sought to bind. No, “[t]he very enumeration

 of the right takes out of the hands of government . . . the power to decide on a case-

 by-case basis whether the right is really worth insisting upon.” Id. at 634.

       Defendants—state and local officials responsible for administering and

 enforcing New Jersey’s regulations governing carrying firearms outside the home—

 have imposed severe limits on “the right of the people to . . . bear Arms,” U.S.

 CONST. amend. II, that flout these basic constitutional principles at every turn. New

 Jersey has seized the very power forbidden it by the Second Amendment: the power

 to decide, on a case-by-case basis, whether an applicant for a license to “carry

 weapons in case of confrontation,” Heller, 554 U.S. at 592, has, in the estimation of

 its local licensing authorities, shown a sufficiently “justifiable need” to exercise that

 right, N.J.S.A. 2C:58-4(c). Worse still, the State has determined that a general desire

 to carry a weapon for self-defense is not a sufficiently justifiable need—demanding,

 instead, proof that a law-abiding citizen wishing to exercise the right has an “urgent

 necessity for self-protection,” N.J.A.C. 13:54-2.4(d)(1), more acute than a

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 “generalized fear[ ] for personal safety,” In re Preis, 573 A.2d 148, 152 (N.J. 1990).

 Defendants have thus struck a balance directly contrary to the Constitution’s

 reservation to the people themselves of the right to determine whether to carry

 firearms for the “core lawful purpose of self-defense.” Heller, 554 U.S. at 630.

       To be sure, as New Jersey points out, the Third Circuit—in precedent we

 concede is binding on this Court at this stage in the litigation—has upheld the State’s

 “justifiable need” limit. Drake v. Filko, 724 F.3d 426 (3d Cir. 2013). But Drake is

 deeply flawed, and it should be overturned. Drake disregards the extensive textual

 and historical evidence demonstrating that the right to carry firearms for self-

 protection outside the home is at the very core of the Second Amendment. It adopts

 mere “intermediate” constitutional scrutiny, effectively relegating the right to bear

 arms to second-class status. And even if the choice of intermediate scrutiny were

 defensible, Drake’s application of it—deferring to the State’s judgment that its

 restriction advances public safety, even though New Jersey has wholly failed to

 support that proposition with any meaningful evidence—is not.

       In sum, New Jersey’s “justifiable need” restriction is unconstitutional, but

 Plaintiffs concede that this Court is presently bound by circuit precedent to uphold

 it.

       Finally, Defendants are wrong to contend that Defendants Oxley and

 Conforti—two Superior Court judges tasked by state law with administering New

                                           2
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 Jersey’s permitting regime—are immune from suit. As Defendants concede, judicial

 immunity applies only where a defendant is haled into court for acting in his judicial

 capacity. And New Jersey law makes clear beyond doubt that in granting or denying

 Handgun Carry Permit applications, Superior Court Judges are undertaking

 “essentially an executive function” that is “clearly non-judicial in nature.” In re

 Pries, 573 A.2d at 151. No judicial immunity shields Defendants Oxley and Conforti

 from suit based on these non-judicial acts.

                                    STATEMENT

 I.    New Jersey’s “justifiable need” requirement

       Under New Jersey law, an ordinary member of the general public who wishes

 to carry a handgun outside the home must first obtain a permit to do so (a “Handgun

 Carry Permit”). N.J.S.A. 2C:39-5(b), 2C:58-4. A person seeking such a permit must

 first apply to the Chief Police Officer of the municipality where he resides. Id. §

 2C:58-4(c).1 If the officer concludes, after investigation, that the applicant meets all

 statutory requirements and approves the application, it is then presented to the

 Superior Court of the county where he resides. Id. § 2C:58-4(d). If the application is

 denied, the applicant may also appeal that denial to the Superior Court. Id. § 2C:58-

 4(e). In either case, if the Superior Court independently determines that the applicant



       1
         An individual who resides out of state, or in a municipality without a Chief
 Police Officer, must instead apply to the Superintendent of State Police. Id.
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 has satisfied all statutory requirements, it may then issue a Handgun Carry Permit.

 Id. In reviewing applications and issuing permits, the Superior Court acts as an

 “issuing authority” and performs “essentially an executive function” that is “clearly

 non-judicial in nature.” In re Preis, 573 A.2d at 151, 154.

       New Jersey imposes some objective restrictions on eligibility for a Handgun

 Carry License. For example, an applicant must not have been convicted of any crime

 or offense involving an act of domestic violence; must not be addicted to controlled

 substances, mentally infirm, or an alcoholic; must not be subject to certain

 restraining orders; and must not be listed on the FBI’s Terrorist Watchlist. N.J.S.A.

 2C:58-4(c), 2C:58-3(c). An applicant must also pass criminal and mental health

 background checks, id. § 2C:58-4(c), and must have satisfied extensive firearms

 safety training requirements, N.J.A.C. 13:54-2.4(b).

       In addition to these eligibility requirements, New Jersey also imposes a more

 subjective restriction on the availability of Handgun Carry Permits: an applicant

 must demonstrate “that he has a justifiable need to carry a handgun.” N.J.S.A. 2C:58-

 4(c). For an ordinary “private citizen,” this requirement is satisfied only if the

 applicant can “specify in detail the urgent necessity for self-protection, as evidenced

 by serious threats, specific threats, or previous attacks, which demonstrate a special

 danger to the applicant’s life that cannot be avoided by reasonable means other than




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 by issuance of a permit to carry a handgun.” N.J.A.C. 13:54-2.4(d)(1).2 “Generalized

 fears for personal safety are inadequate, and a need to protect property alone does

 not suffice.” In re Preis, 573 A.2d 148, 152 (N.J. 1990).

       Accordingly, typical law-abiding citizens of New Jersey—the vast majority

 of responsible citizens who cannot “demonstrate a special danger to [their] life,” as

 “evidenced by serious threats, specific threats, or previous attacks,” N.J.A.C. 13:54-

 2.4(d)(1)—effectively remain subject to a ban on carrying handguns outside the

 home for self-defense.

 II.   Defendants’ refusal to issue Plaintiffs handgun carry licenses

       On January 11, 2017, Plaintiff Rogers filed an application for a Handgun

 Carry Permit with the Chief of Police for Wall Township, the town where he resides.

 Complaint for Declaratory & Injunctive Relief ¶ 30 (Feb. 5, 2018), Doc. 1

 (“Compl.”). Plaintiff Rogers does not face any special danger to his life, though he

 was robbed at gunpoint several years ago while working as the manager of a

 restaurant, and he currently runs a large ATM business that causes him to frequently




       2
         “Serious threats” is a very recent addition to the standard, intended by
 Governor Christie to slightly tweak the rule in the absence of legislative support for
 genuine and significant reform. With the new administration, the Legislature is
 rapidly moving forward to eliminate this mild change in language. Both formulations
 are unconstitutional in exactly the same way.

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 work in high-crime areas. Id. ¶ 29. Accordingly, he desires to carry a handgun with

 him for purposes of self-defense. Id.

        The Chief of Police, Defendant Kenneth Brown, Jr., did not dispute that Mr.

 Rogers met all of the eligibility and training requirements imposed by New Jersey

 Law, but he nonetheless denied his application because he “fail[ed] to establish

 Justifiable Need.” Id. at Ex. 1. Plaintiff Rogers appealed Defendant Brown’s denial

 of his application to Superior Court, and on January 2, 2018, a Superior Court judge,

 Defendant Joseph W. Oxley, also denied Rogers’s application on the basis of his

 failure to establish justifiable need. Id. at Ex. 2.3

                                      ARGUMENT

        “To survive a motion to dismiss, a complaint must contain sufficient factual

 matter, accepted as true, to state a claim to relief that is plausible on its face.” Zuber

 v. Boscov’s, 871 F.3d 255, 258 (3d Cir. 2017). “To determine the sufficiency of a

 complaint . . . a court must take three steps: First, the court must tak[e] note of the

 elements a plaintiff must plead to state a claim. Second, the court should identify

 allegations that, because they are no more than conclusions, are not entitled to the


        3
          Defendants have also refused, on the basis of the “justifiable need”
 requirement, to grant at least one member of associational Plaintiff Association of
 New Jersey Rifle & Pistol Clubs (“ANJRPC”) a license that would allow them to
 carry a firearm outside the home for self-defense. Id. ¶ 36. For instance, Defendant
 Conforti, a Superior Court judge in Sussex County, denied ANJRPC member
 Kenneth Warren’s application on January 31, 2018, for failure to show justifiable
 need. Id. ¶ 35.
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 assumption of truth. Finally, where there are well-pleaded factual allegations, a court

 should assume their veracity and then determine whether they plausibly give rise to

 an entitlement for relief.” Santiago v. Warminster Twp., 629 F.3d 121, 130 (3d Cir.

 2010) (second alteration in original) (citations and quotation marks omitted).

       As Defendants point out, in Drake, the Third Circuit held that New Jersey’s

 “justifiable need” restriction on the issuance of Handgun Carry Permits is consistent

 with the Second Amendment. Because this Court “does not have the discretion to

 disregard controlling precedent” from the Third Circuit, Vujosevic v. Rafferty, 844

 F.2d 1023, 1030 n.4 (3d Cir. 1988), Plaintiffs do not dispute that it must follow the

 controlling decision in Drake, at this point in the proceedings. But Drake’s ruling is

 deeply flawed, and it should be overruled at the first opportunity by a court with

 authority to do so.

 I.    The conduct restricted by New Jersey’s “justifiable need” requirement
       lies at the core of the Second Amendment.

       a. Text, history, precedent, and purpose all confirm that the right to keep
          and bear arms extends outside the home.

       In District of Columbia v. Heller, the Supreme Court held that the Second

 Amendment “guarantee[s] the individual right to possess and carry weapons in case

 of confrontation.” 554 U.S. 570, 592 (2008). And although that landmark ruling did

 not purport to “clarify the entire field” of Second Amendment jurisprudence, id. at

 635, Heller did set forth clear guidance about the methodology for deciding future


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 disputes over the right to keep and bear arms. Because “[c]onstitutional rights are

 enshrined with the scope they were understood to have when the people adopted

 them,” id. at 634–35, deciding whether a government restriction challenged on

 Second Amendment grounds can be squared with that provision involves a close

 inquiry into the Amendment’s “text in light of its meaning at the time of ratification,”

 United States v. Marzzarella, 614 F.3d 85, 90 (3d Cir. 2010). Here, text, precedent,

 purpose, and history uniformly show that the carrying of firearms outside the home

 for self-defense is squarely protected by the Second Amendment right.

       1.     The text of the Second Amendment leaves no doubt that it applies

 outside the home. The substance of the Second Amendment right reposes in the twin

 verbs of the operative clause: “the right of the people to keep and bear Arms, shall

 not be infringed.” U.S. CONST. amend. II (emphasis added). Because “[t]o speak of

 ‘bearing’ arms within one’s home would at all times have been an awkward usage,”

 the Constitution’s explicit inclusion of the “right to bear arms thus implies a right to

 carry a loaded gun outside the home.” Moore v. Madigan, 702 F.3d 933, 936 (7th

 Cir. 2012). Indeed, interpreting the Second Amendment as confined to the home

 would read the second of these guarantees—the right to bear arms—out of the

 Constitution’s text altogether, for the right to keep arms standing alone would be

 sufficient to protect the right to have arms in the home.




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       2.     Confining the right to keep and bear arms to the home would also be at

 war with precedent. The Supreme Court’s decision in “Heller repeatedly invokes a

 broader Second Amendment right than the right to have a gun in one’s home.” Id. at

 935–36. For instance, Heller squarely holds that the Second Amendment

 “guarantee[s] the individual right to possess and carry weapons in case of

 confrontation,” 554 U.S. at 592 (emphasis added), and it defines the key

 constitutional phrase “bear arms” as to “ ‘wear, bear, or carry . . . upon the person or

 in the clothing or in a pocket, for the purpose . . . of being armed and ready for

 offensive or defensive action in a case of conflict with another person,’ ” id. at 584

 (alteration in original) (quoting Muscarello v. United States, 524 U.S. 125, 143

 (1998) (Ginsburg, J., dissenting)). Heller’s indication that “laws forbidding the

 carrying of firearms in sensitive places such as schools and government buildings”

 are “presumptively lawful” also implicitly recognizes a general right to bear arms in

 public; otherwise there would be no need to identify exceptions. Id. at 626, 627 n.26.

 Moreover, Heller extensively cites and significantly relies upon Nunn v. State, a

 nineteenth-century Georgia case that “struck down a ban on carrying pistols openly”

 under the Second Amendment. Id. at 612; see also Caetano v. Massachusetts, 136

 S. Ct. 1027 (2016) (vacating state court ruling that the Second Amendment does not

 protect the right to carry a stun gun in public).




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       The Third Circuit in Drake “decline[d] to definitively declare that the

 individual right to bear arms for the purpose of self-defense extends beyond the

 home,” choosing instead to assume for the sake of analysis that the Amendment has

 “some application beyond the home.” 724 F.3d at 431. That assumption is consistent

 with the persuasive authority from other federal courts. Two circuit courts have

 directly held that the Second Amendment right to armed self-defense does not give

 out at the doorstep. See Wrenn v. District of Columbia, 864 F.3d 650, 661 (D.C. Cir.

 2017); Moore, 702 F.3d at 935, 942. And no federal court of appeals has held that

 the Amendment does not apply outside the home.

       3.     The very purposes behind the Second Amendment’s codification show

 that it must protect the carrying of arms outside the home. As announced by its

 “prefatory” clause, the Amendment was designed in part “to prevent elimination of

 the militia.” Heller, 554 U.S. at 599. A right to bear arms limited to the home would

 be ill-suited to “rearing up and qualifying a well-regulated militia,” id. at 612

 (quoting Nunn v. State, 1 Ga. 243, 251 (1846)), for if citizens could be prohibited

 from carrying arms in public they simply could not act as the militia at all.

       Of course, the militia was not “the only reason Americans valued the ancient

 right; most undoubtedly thought it even more important for self-defense and

 hunting.” Id. at 599. Hunting obviously cannot be conducted by those bearing arms

 only within their homes. And the same reasoning applies with even more force to

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 the “the central component” of the Second Amendment right: self-defense. Id. There

 is nothing in the Court’s language to suggest that this core purpose may only be

 pursued in the home. Nor is there any such suggestion in the Amendment’s text. And

 “one doesn’t have to be a historian to realize that a right to keep and bear arms for

 personal self-defense in the eighteenth century could not rationally have been limited

 to the home.” Moore, 702 F.3d at 936. “The Supreme Court has decided that the

 [Second Amendment] confers a right to bear arms for self-defense, which is as

 important outside the home as inside.” Id. at 942. Indeed, according to the latest

 nationwide data from the Bureau of Justice Statistics, 18.4% of violent crimes occur

 at or in the victim’s home, while 26.5% occur on the street or in a parking lot or

 garage.4 Thus, “[t]o confine the right to be armed to the home is to divorce the

 Second Amendment from the right of self-defense described in Heller and

 McDonald.” Moore, 702 F.3d at 937.

       4.     Finally, the historical understanding of the right to keep and bear arms

 conclusively confirms that it extends outside the home.

       As McDonald v. City of Chicago explains, “[s]elf-defense is a basic right,

 recognized by many legal systems from ancient times to the present day.” 561 U.S.

 742, 767 (2010). And because the need for self-defense may arise in public, it has



       4
        BUREAU OF JUSTICE STATISTICS, CRIMINAL VICTIMIZATION IN THE UNITED
 STATES, 2008 STATISTICAL TABLES tbl. 61 (2010), http://goo.gl/6NAuIB.
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 long been recognized that the right to self-defense may be exercised in public. Thus,

 “[i]f any person attempts a robbery or murder of another, or attempts to break open

 a house in the night time, . . . and shall be killed in such attempt, the slayer shall be

 acquitted and discharged.” 4 WILLIAM BLACKSTONE, COMMENTARIES *180

 (emphasis added). “Sergeant William Hawkins’s widely read Treatise of the Pleas

 of the Crown,” Atwater v. City of Lago Vista, 532 U.S. 318, 331 (2001), likewise

 explained that “the killing of a Wrong-doer . . . may be justified . . . where a Man

 kills one who assaults him in the Highway to rob or murder him.” 1 WILLIAM

 HAWKINS, A TREATISE OF THE PLEAS OF THE CROWN 71 (1716).

       Because the right to self-defense was understood to extend beyond the home,

 the right to armed self-defense naturally was as well. Accordingly, by the late

 seventeenth century the English courts recognized that it was the practice and

 privilege of “gentlemen to ride armed for their security.” Rex v. Knight, 90 Eng. Rep.

 330 (K.B. 1686). A century later, the Recorder of London—a judge and “the

 foremost legal advisor to the city,” Parker v. District of Columbia, 478 F.3d 370,

 382 n.8 (D.C. Cir. 2007)—opined that “[t]he right of his majesty’s Protestant

 subjects, to have arms for their own defence, and to use them for lawful purposes, is

 most clear and undeniable.” Legality of the London Military Foot-Association

 (1780), reprinted in WILLIAM BLIZZARD, DESULTORY REFLECTIONS ON POLICE 59,

 59 (1785). These “lawful purposes, for which arms may be used,” were not limited

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 to the home, for they included “immediate self-defence, . . . suppression of violent

 and felonious breaches of the peace, the assistance of the civil magistrate in the

 execution of the laws, and the defence of the kingdom against foreign invaders.” Id.

 at 63.

          That understanding was shared on this side of the Atlantic. Indeed, “about half

 the colonies had laws requiring arms-carrying in certain circumstances,” such as

 when traveling or attending church. NICHOLAS J. JOHNSON & DAVID B. KOPEL ET

 AL., FIREARMS LAW & THE SECOND AMENDMENT             106–08 (2012) (emphasis added).

 Plainly, if the law imposed on individuals a civic duty to bear arms “for public-safety

 reasons,” Heller, 554 U.S. at 601, the law necessarily conferred on those citizens a

 corresponding right to do so. And that understanding endured in the next century,

 both before and after the Revolution. Indeed, as Judge St. George Tucker observed

 in 1803, “[i]n many parts of the United States, a man no more thinks, of going out

 of his house on any occasion, without his rifle or musket in his hand, than an

 European fine gentleman without his sword by his side.” 5 WILLIAM BLACKSTONE,

 COMMENTARIES App. n.B, at 19 (St. George Tucker ed., 1803). And Tucker made

 clear that Congress would exceed its authority were it to “pass a law prohibiting any

 person from bearing arms.” 1 id. App. n.D, at 289.

          The practices of the Founding generation confirm that the right to carry arms

 was well-established. George Washington, for example, carried a firearm on an

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 expedition into the Ohio Country. WILLIAM M. DARLINGTON, CHRISTOPHER GIST’S

 JOURNALS 85–86 (1893). Thomas Jefferson advised his nephew to “[l]et your gun

 . . . be the constant companion of your walks,” 1 THE WORKS OF THOMAS JEFFERSON

 398 (letter of Aug. 19, 1785) (H. A. Washington ed., 1884), and Jefferson himself

 traveled with pistols for self-protection and designed a holster to allow for their ready

 retrieval, see Firearms, Monticello, https://goo.gl/W6FSpM. Even in defending the

 British soldiers charged in the Boston Massacre, John Adams conceded that, in this

 country, “every private person is authorized to arm himself; and on the strength of

 this authority I do not deny the inhabitants had a right to arm themselves at that time

 for their defence.” John Adams, First Day’s Speech in Defence of the British Soldiers

 Accused of Murdering Attucks, Gray and Others, in the Boston Riot of 1770, in 6

 MASTERPIECES OF ELOQUENCE 2569, 2578 (Hazeltine et al. eds., 1905). And as an

 attorney, Patrick Henry regularly carried a firearm while walking from his home to

 the courthouse. HARLOW GILES UNGER, LION OF LIBERTY 30 (2010).

       This understanding was also reflected in contemporary judicial decisions. As

 the panel decision in Peruta v. County of San Diego concluded after an exhaustive

 survey of the early-American case law, although “some courts approved limitations

 on the manner of carry outside the home, none approved a total destruction of the

 right to carry in public.” 742 F.3d 1144, 1160 (9th Cir. 2014), vacated, 781 F.3d

 1106 (9th Cir. 2015) (en banc); see also, e.g., Nunn, 1 Ga. at 243, 249–51; State v.

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 Reid, 1 Ala. 612, 616–17 (1840); Bliss v. Commonwealth, 12 Ky. (2 Litt.) 90, 91–93

 (1822).

       To be sure, the right to bear arms is not a right to “carry any weapon

 whatsoever in any manner whatsoever and for whatever purpose.” Heller, 554 U.S.

 at 626. For example, in the pre-history of the Second Amendment, English courts

 had read the Statute of Northampton as “prohibiting the carrying of ‘dangerous and

 unusual weapons,’ ” id. at 627—weapons not protected by the right to keep and bear

 arms, id. at 623–24, 627—or otherwise “go[ing] armed to terrify the King’s

 subjects,” Sir John Knight’s Case, 87 Eng. Rep. 75, 76 (K.B. 1686). But this rule

 against “riding or going armed, with dangerous or unusual weapons” and thereby

 “terrifying the good people of the land,” 4 WILLIAM BLACKSTONE, COMMENTARIES

 *148–49, was not understood as extending to the ordinary carrying of weapons

 “usually worne and borne,” WILLIAM LAMBARD, EIRENARCHA 135 (1588), unless

 “accompanied with such circumstances as are apt to terrify the people,” 1 HAWKINS,

 supra, at 136. After all, even by the late seventeenth century there was “a general

 connivance to gentlemen to ride armed for their security.” Rex v. Knight, 90 Eng.

 Rep. 330 (K.B. 1686).

       Early American courts and commentators shared this understanding of the

 scope of the right to bear arms in self-defense. For instance, James Wilson, a leading

 Framer and Supreme Court Justice, explained in his widely read Lectures on Law

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 that it was unlawful only to carry “dangerous and unusual weapons, in such a

 manner, as will naturally diffuse a terrour among the people.” 3 JAMES WILSON, THE

 WORKS   OF THE   HONOURABLE JAMES WILSON 79 (1804). After all, as another

 commentator explained, “in this country the constitution guaranties to all persons

 the right to bear arms; then it can only be a crime to exercise this right in such a

 manner, as to terrify the people unnecessarily.” CHARLES HUMPHREYS, A

 COMPENDIUM OF THE COMMON LAW IN FORCE IN KENTUCKY 482 (1822); see also

 State v. Huntly, 25 N.C. 418, 422–23 (1843); Simpson v. State, 13 Tenn. 356, 359–

 60 (1833).

       This reading of the Second Amendment persisted throughout the nineteenth

 century. Reconstruction Era views are “instructive” evidence of the Second

 Amendment’s scope because they reflect “the public understanding of [the

 Amendment] in the period after its enactment.” Heller, 554 U.S. at 605, 614. And

 those who wrote and ratified the Fourteenth Amendment clearly understood the right

 to bear arms to protect the carrying of firearms outside the home for self-defense.

       For decades before the Civil War, the southern States had schemed to prevent

 their enslaved and free black populations from bearing arms at every turn. An 1832

 Delaware law, for example, forbade any “free negroes [or] free mulattoes to have

 own keep or possess any Gun [or] Pistol,” unless they first received a permit from

 “the Justice of the Peace” certifying “that the circumstances of his case justify his

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 keeping and using a gun.” Act of Feb. 10, 1832, sec. 1, Del. Laws 180 (1832); see

 also Robert J. Cottrol & Raymond T. Diamond, The Second Amendment: Toward

 an Afro-Americanist Reconsideration, 80 GEO. L.J. 309, 336–38 (1991) (citing

 similar laws in Texas, Mississippi, Louisiana, South Carolina, Maryland, Virginia,

 and Georgia). Indeed, Chief Justice Taney recoiled so strongly in the infamous Dred

 Scott case from recognizing African Americans as citizens precisely because he

 understood that doing so would entitle them “to keep and carry arms wherever they

 went.” Dred Scott v. Sandford, 60 U.S. (19 How.) 393, 417 (1857).

       After the Civil War, these noxious efforts to suppress the rights of former

 slaves to carry arms for their self-defense continued. Mississippi’s notorious “Black

 Code,” for example, forbade any “freedman, free negro or mulatto” to “keep or carry

 fire-arms of any kind.” An Act To Punish Certain Offences Therein Named, and for

 Other Purposes, ch. 23, § 1, 1865 Miss. Laws 165. Like restrictions were enacted in

 Louisiana and Alabama. Cottrol & Diamond, supra, at 344–45. And in an ordinance

 strikingly similar in operation to New Jersey’s “justifiable need” law, several

 Louisiana towns provided that no freedman “shall be allowed to carry fire-arms, or

 any kind of weapons, within the parish” without the approval of “the nearest and

 most convenient chief of patrol.” 1 WALTER L. FLEMING, DOCUMENTARY HISTORY

 OF RECONSTRUCTION     279–80 (1906).




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       As the Supreme Court explained at length in McDonald, the Reconstruction

 Congress labored mightily to entomb this legacy of prejudice. See 561 U.S. at 770–

 77. Congress’s efforts culminated in the adoption of the Fourteenth Amendment,

 which ensured the right of every American, regardless of race, to “bear arms for the

 defense of himself and family and his homestead.” CONG. GLOBE, 39th Cong., 1st

 Sess. 1182 (1866) (statement of Sen. Pomeroy); see also McDonald, 561 U.S. at

 775–76.

       b. Drake erred in concluding that New Jersey’s “justifiable need”
          requirement is longstanding and “presumptively lawful.”

       While acknowledging “that the Second Amendment’s individual right to bear

 arms may have some application beyond the home,” the Drake court concluded that

 the conduct burdened by New Jersey’s “justifiable need” restriction was outside the

 Amendment’s scope, because that restriction “qualifies as a ‘longstanding,’

 ‘presumptively lawful’ regulation.” 724 F.3d at 431–32. Not so.

       Drake’s principle piece of evidence for this conclusion was a series of late-

 nineteenth-century laws targeting “the carrying of concealed weapons,” id. at 433;

 see also Br. in Supp of State Defs’ Mot. to Dismiss at 13 (Apr. 3, 2018), Doc. 16-3

 (“MTD Brief”) (relying on these laws).5 But those laws provide scant support for


       5
         Defendant Kenneth J. Brown, Jr., is separately represented in this matter, but
 he has joined the State’s motion to dismiss and supporting brief in full. Letter from
 Paul L. LaSalle to Hon. Brian R. Martinotti (Apr. 9, 2018), Doc. 18-1. Accordingly
 we cite and refer to the State’s brief throughout.
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 New Jersey’s “justifiable need” requirement, for while they limited the carrying of

 concealed firearms—a practice that was considered dishonorable and especially

 dangerous, by the social mores of the day—they did so against the background of

 freely allowing the open carrying of arms in common use, thus “le[aving] ample

 opportunities for bearing arms.” Wrenn, 864 F.3d at 662.

       The fact that these laws left intact the background right to carry firearms in

 some manner was absolutely critical to most of the judicial opinions assessing their

 constitutionality. The distinction was relied upon by courts that upheld this type of

 law against constitutional challenge. See State v. Chandler, 5 La. Ann. 489, 490

 (1850) (concealed carry ban “interfered with no man’s right to carry arms . . . ‘in full

 open view,’ ” and thus did not interfere with “the right guaranteed by the

 Constitution of the United States”); Aymette v. State, 21 Tenn. 154, 160–61 (1840);

 State v. Reid, 1 Ala. 612, 616–17 (1840). And it was also endorsed by the opinions

 striking down limitations on carrying firearms that cut too close to the core. See

 Nunn, 1 Ga. at 251 (limitation on “the practice of carrying certain weapons secretly”

 was “valid, inasmuch as it does not deprive the citizen of his natural right of self-

 defence, or of his constitutional right to keep and bear arms,” but “prohibition against

 bearing arms openly” was “in conflict with the Constitution, and void”); see also




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 Bliss, 12 Ky. at 91–94.6 These laws thus provide no historical pedigree for

 restrictions, like New Jersey’s, which prohibit both open and concealed carrying and

 thus “amount[ ] to a destruction of the right” altogether. Reid, 1 Ala. at 616.

       Drake resisted this conclusion, reasoning that although these historical laws

 were upheld “because open carrying remained available as an avenue for public

 carrying,” they nonetheless supported the presumptive constitutionality of New

 Jersey’s restrictions on “carry[ing] openly or concealed” because they demonstrated

 a “longstanding tradition of regulating the public carrying of weapons for self-

 defense.” 724 F.3d at 433. But that line of argument fails because it “is conducted at

 too high a level of generality”: concluding from the limited restrictions on concealed

 carrying that were generally upheld by the courts—but not without generating

 “grave discussion” and “a great difference of opinion on the question of” their

 constitutionality, 2 JAMES KENT, COMMENTARIES ON AMERICAN LAW *340 n.2 (O.

 Holmes ed., 12th ed. 1873)—that there was a tradition of restricting “the public

 carrying of weapons” generally is “ ‘akin to saying that because the government

 traditionally could prohibit defamation, it can also prohibit speech criticizing



       6
          A few courts from this era upheld concealed carry bans without relying on
 this distinction, but they did so “on the basis of an interpretation of the Second
 Amendment . . . that conflicts with [Heller.]” Kachalsky v. County of Westchester,
 701 F.3d 81, 91 n.14 (2d Cir. 2012). Those outlier decisions are thus “sapped of
 authority by Heller,” and cannot be cited as reliable guides to the Second
 Amendment’s scope. Wrenn, 864 F.3d at 658.
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 government officials.’ ” Drake, 724 F.3d at 433, 451 (Hardiman, J., dissenting)

 (quoting Heller v. District of Columbia (Heller II), 670 F.3d 1244, 1294 (D.C. Cir.

 2011) (Kavanagh, J. dissenting)). On this style of reasoning, any gun control law is

 “presumptively lawful” (and Heller was wrongly decided) because there is a

 “tradition” of regulating the use and possession of firearms for public safety.

 Reductio ad absurdum.

       As Defendants note, MTD Brief 13, the Drake majority also thought New

 Jersey’s law was itself sufficiently “longstanding,” since “[t]he ‘justifiable need’

 standard . . . has existed in New Jersey in some form for nearly 90 years.” 724 F.3d

 at 432 (majority). That argument fails twice over. To begin, New Jersey imposed a

 “need” requirement on all public carrying for only half that time. As the Third

 Circuit recognized, until 1966 the State required a showing of “need” only for

 carrying concealed handguns while not restricting open carry—and its law was thus

 merely one example of the (irrelevant) concealed-carry restrictions just discussed.

 Id.

       Second, even setting this point aside and starting the clock in 1924, an outlier

 law adopted by New Jersey and a handful of other jurisdictions nearly a century and

 a half after the Founding—and even today adhered to by well under a quarter of the

 States—hardly constitutes the type of longstanding, traditional limitation that Heller

 characterized as “presumptively lawful.” 554 U.S. at 627 n.26. Like other

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 constitutional rights, the Second Amendment establishes minimum national

 standards that must be enforced against “resisting local outliers,” Michael J.

 Klarman, Rethinking the Civil Rights & Civil Liberties Revolutions, 82 VA. L. REV.

 1, 16 (1996), and the scope of the national standards cannot be dictated by the

 outliers. That is particularly so where the local restriction has been on the books for

 little more than a third of our American experiment and is not fairly grounded in

 historical restrictions of earlier vintage. “While two-hundred years from now,

 restrictions from [1924] may seem longstanding, looking back only to [1924], today,

 omits more than half of America’s history and belies the purpose of the inquiry.”

 Mance v. Holder, 74 F. Supp. 3d 795, 805 (N.D. Tex. 2015), rev’d on other grounds

 sub nom. Mance v. Sessions, 880 F.3d 183 (5th Cir. 2018).

       Defendants are also wrong to suggest that the Drake majority’s (erroneous)

 reasoning on this point provides a way of distinguishing the D.C. Circuit’s decision

 in Wrenn striking down the District of Columbia’s similar law. The State’s theory is

 that because Drake relied on the fact that “New Jersey’s law was over 90 years old”

 and the D.C. law in Wrenn “was adopted only in 2014,” the two cases can be “read

 . . . as co-existing peaceably.” MTD Brief 11. That theory is directly contrary to both

 Wrenn and Drake. The court in Wrenn squarely rejected any argument that

 “ ‘longstanding’ practices” of regulating public carriage “so shrank the right” that

 “good-reason laws [were] beyond its reach,” holding instead that “even for those

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 lacking special self-defense needs,” “the individual right to carry common firearms

 beyond the home for self-defense . . . falls within the core of the Second

 Amendment’s protections.” 864 F.3d at 659, 661. And Drake, for its part, explicitly

 rejected Defendants’ argument “that the analysis of a particular regulation in a

 particular jurisdiction should turn entirely on the historical experience of that

 jurisdiction alone,” as unsupported by “the Second Amendment jurisprudence of

 either the Supreme Court or this Court.” 724 F.3d at 434.

       Drake and Wrenn cannot be made to “co-exist[ ] peaceably.” MTD Brief 11.

 And as the persuasive analysis in Wrenn shows, Drake erred in concluding that New

 Jersey’s ban was “outside the scope of the Second Amendment’s guarantee.” 724

 F.3d at 434. Drake should be reversed.

       c. The right to carry arms outside the home in self-defense is at the core
          of the Second Amendment.

       The right to “carry weapons in case of confrontation,” Heller, 554 U.S. at 592,

 is not only within the scope of the Second Amendment, it lies at the very core of that

 guarantee. Heller makes clear that the right to individual self-defense is “the central

 component” of the Second Amendment. Id. at 599. And because the Second

 Amendment’s text, history, and purposes all show that its protections extend outside

 the home, the right to carry firearms “for the core lawful purpose of self-defense”

 necessarily extends beyond those four walls as well. Id. at 630. “Thus, the



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 Amendment’s core generally covers carrying in public for self-defense.” Wrenn, 864

 F.3d at 659.

       Again, Drake disagreed with this conclusion. While “[a]ssuming that the

 Second Amendment individual right to bear arms does apply beyond the home” for

 the sake of analysis, the Third Circuit held that “that right is not part of the core of

 the Amendment.” 724 F.3d at 431, 436. But because Drake refused to engage in any

 meaningful “historical analysis” of whether the Second Amendment applies outside

 the home, it simply had no basis for concluding that the right to bear arms outside

 the home “is not part of the core of the Amendment.” Id. at 431, 436. While the

 Third Circuit’s decision to assume arguendo that the Second Amendment applies in

 public may have been “meant to be generous to the plaintiffs, by granting a premise

 in their favor,” its effect was to leave the Third Circuit’s conclusion that the right to

 bear arms has diminished importance outside the home unmoored from any

 justification whatsoever. Wrenn, 864 F.3d at 663.

       For the same reason, Defendants’ reliance on decisions from the Second and

 Fourth Circuits upholding laws similar to New Jersey’s are to no avail.7 Each of


       7
         Defendants also cite the Tenth Circuit’s decision in Peterson v. Martinez,
 707 F.3d 1197 (10th Cir. 2013), but that case is of no help to them. Akin to the
 nineteenth-century cases discussed above, Peterson held only that “the Second
 Amendment does not confer a right to carry concealed weapons.” 707 F.3d at 1211
 (emphasis added). The court expressly declined to address whether the restriction on
 concealed carrying at issue in that case unconstitutionally “deprive[d] [the plaintiff]

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 those cases committed precisely the same error as Drake: “simply assum[ing] for

 argument’s sake that the [Second] Amendment covers some carrying,” and then

 proceeding to “dispens[e] with the historical digging . . . essential to locating the

 Amendment’s edge, or at least its core.” Wrenn, 864 F.3d at 661–63. The repetition

 of this error by each of these courts does not somehow transform it into sound legal

 reasoning.

       Had Drake fairly engaged in the textual and historical analysis required by

 Heller, it would have reached the same conclusion as the two circuits that have

 treated seriously with the Second Amendment’s text and history. See Wrenn, 864

 F.3d at 661; Moore, 702 F.3d at 937, 942. For as shown above, these sources of

 authority leave no doubt that this constitutional guarantee extends outside the home.

 See supra, Part I.A. And because that is so, the right to bear arms “for the core lawful

 purpose of self-defense,” Heller, 554 U.S. at 630, can be no further from the

 heartland of the Second Amendment than the right to keep them.




 of any meaningful opportunity to bear arms” when viewed alongside the
 government’s simultaneous “restriction on the open carrying of firearms,” in light
 of the plaintiff’s deliberate decision not to challenge that latter restriction. Id. at
 1211–12 (quotation marks omitted). Here, by contrast, the challenged law restricts
 “the carrying of a handgun in public, either openly or concealed,” and Plaintiffs seek
 “to carry firearms outside the home for the purpose of self-defense” in whatever
 manner the State prefers. Compl. ¶¶ 5, 17. Peterson’s narrow holding is irrelevant
 to this type of challenge.
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 II.   Under Heller, Defendants’ requirement that law-abiding citizens
       demonstrate a special need for self-defense to exercise their Second
       Amendment rights is categorically unconstitutional.

       Given that the core of the Second Amendment extends to armed self-defense

 outside the home, Heller makes the next analytical steps clear. Because “[t]he very

 enumeration of the right takes out of the hands of government—even the Third

 Branch of Government—the power to decide on a case-by-case basis whether the

 right is really worth insisting upon,” wholesale infringements upon the

 Amendment’s “core protection” must be held unconstitutional categorically, not

 “subjected to a freestanding ‘interest-balancing’ approach.” Heller, 554 U.S. at 634–

 35. Defendants’ prohibition on the right of typical, law-abiding citizens to bear arms

 for the purpose of self-defense is just such an infringement of core Second

 Amendment conduct. Accordingly, it is flatly unconstitutional.

       Heller requires per se invalidation of broad bans that strike at the heart of the

 Second Amendment. In Heller, the Supreme Court declined the invitation to analyze

 the ban on possessing handguns at issue under “an interest-balancing inquiry” based

 on the “approach . . . the Court has applied . . . in various constitutional contexts,

 including election-law cases, speech cases, and due process cases,” 554 U.S. at 689–

 90 (Breyer, J., dissenting), ruling instead that the right to keep and bear arms was

 “elevate[d] above all other interests” the moment that the People chose to enshrine

 it in the Constitution’s text, id. at 635 (majority opinion). And in McDonald, the


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 Court reaffirmed that Heller had “expressly rejected the argument that the scope of

 the Second Amendment right should be determined by judicial interest balancing.”

 561 U.S. at 785 (plurality opinion).

       Defendants’ demand that applicants show “a special danger to [their] life,”

 N.J.A.C. 13:54-2.4(d)(1), that is distinguishable from “[g]eneralized fears for

 personal safety,” In re Preis, 573 A.2d at 152, extinguishes the core Second

 Amendment rights of typical citizens—who by definition cannot make such a

 showing. To be sure, Defendants’ limits allow individuals to carry firearms if they

 can first “specify in detail [their] urgent necessity for self-protection.” N.J.A.C.

 13:54-2.4(d)(1). But the Second Amendment does not set up a race between law-

 abiding citizens and their assailants to the license bureau. For those whose lives or

 safety are being threatened, it is cold comfort to know that they could have carried a

 firearm if only they could have documented their “urgent necessity for self-

 protection” in advance. Surely under the Second Amendment—which protects the

 right to bear arms “in case of confrontation,” Heller, 554 U.S. at 592 (emphasis

 added)—that scheme gets things exactly backwards.

       Indeed, the State’s demand that its citizens prove to the Government’s

 satisfaction that they have a good enough reason to carry a handgun is flatly

 inconsistent with the very nature of the Second Amendment right. The existence of

 that right is itself reason enough for its exercise. It is thus no surprise that courts

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 have rejected this kind of “ask-permission-first” regime across a wide variety of

 constitutional rights, reasoning that the government has failed to honor a right if it

 demands to know—and assess de novo—the reasons justifying each occasion of its

 exercise. See, e.g., First Nat’l Bank of Boston v. Bellotti, 435 U.S. 765 (1978)

 (government cannot condition speech on “a requirement that the speaker have a

 sufficiently great interest in the subject to justify communication”); New York Times

 Co. v. United States, 403 U.S. 713, 714 (1971) (prior restraint presumptively

 unconstitutional); Employment Div., Dep’t of Human Res. of Oregon v. Smith, 494

 U.S. 872, 887 (1990) (government cannot “question the centrality” or “plausibility”

 of religious convictions); see also Burwell v. Hobby Lobby Stores, Inc., 134 S. Ct.

 2751, 2778 (2014).

       In short, as the D.C. Circuit persuasively concluded, a justifiable-need-type

 requirement that limits the carrying of firearms outside the home to those with a

 “heightened need” for self-defense “is necessarily a total ban on most . . . residents’

 right to carry a gun in the face of ordinary self-defense needs.” Wrenn, 864 F.3d at

 666. Indeed, such a restriction “destroys the ordinarily situated citizen’s right to bear

 arms not as a side effect of applying other, reasonable regulations . . . , but by design:

 it looks precisely for needs ‘distinguishable’ from those of the community.” Id. Such

 a prohibition is unconstitutional per se.




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 III.   Drake was wrong to uphold Defendants’ “justifiable need” restriction
        under intermediate scrutiny.

        a. Strict scrutiny should apply.

        Even if Defendants’ restrictions were not categorically unconstitutional, they

 should at the least be subjected to the highest level of constitutional scrutiny. As the

 Supreme Court has explained, “strict judicial scrutiny [is] required” whenever a law

 “impinges upon a fundamental right explicitly or implicitly protected by the

 Constitution.” San Antonio Indep. Sch. Dist. v. Rodriguez, 411 U.S. 1, 17 (1973).

 And the right to bear arms is not only enumerated in the constitutional text; it was

 also counted “among those fundamental rights necessary to our system of ordered

 liberty” by “those who drafted and ratified the Bill of Rights.” McDonald, 561 U.S.

 at 768, 778. Drake’s application of merely intermediate scrutiny, by contrast,

 relegates the Second Amendment to “a second-class right.” Id. at 780 (plurality).

        b. Defendants’ “justifiable need” restriction fails even intermediate
           scrutiny, properly applied.

        Ultimately, determining the correct standard of scrutiny is immaterial,

 however, because the “justifiable need” restriction should be struck down under any

 level of heightened scrutiny.

        1.    That is so, first, as a matter of law. By design, Defendants’ restrictions

 will reduce firearm violence only by reducing the quantity of firearms in public. That

 is “not a permissible strategy”—even if used as a means to the further end of


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 increasing public safety. Grace v. District of Columbia, 187 F. Supp. 3d 124, 148

 (D.D.C. 2016), aff’d sub nom. Wrenn v. District of Columbia, 864 F.3d 650. That

 conclusion follows directly from the Supreme Court’s precedents in the secondary-

 effects area of free speech doctrine.

       The Supreme Court has held that government restrictions on certain types of

 expressive conduct—most commonly, zoning ordinances that apply specifically to

 establishments offering adult entertainment—are subject to merely intermediate

 scrutiny even though they are content-based. City of Renton v. Playtime Theatres,

 Inc., 475 U.S. 41, 47–51 (1986). But this lesser scrutiny applies only so long as the

 purpose and effect of the restrictions is to reduce the negative “secondary effects” of

 the expression—such as the increased crime that occurs in neighborhoods with a

 high concentration of adult theaters—rather than to suppress the expression itself.

 Id. at 49. As Justice Kennedy’s controlling opinion in City of Los Angeles v. Alameda

 Books, Inc., 535 U.S. 425 (2002), makes clear, in defending a restriction as

 sufficiently tailored to further an important or substantial governmental interest, the

 government may not rely on the proposition “that it will reduce secondary effects by

 reducing speech in the same proportion.” Id. at 449 (Kennedy, J., concurring). “It is

 no trick to reduce secondary effects by reducing speech or its audience; but [the

 government] may not attack secondary effects indirectly by attacking speech.” Id. at

 450; see also Heller v. District of Columbia (Heller III), 801 F.3d 264, 280 (D.C.

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 Cir. 2015); Drake, 724 F.3d at 455–56 (Hardiman, J., dissenting); Grace, 187 F.

 Supp. 3d at 148.

       But that is precisely what Defendants have done here. Their restrictive

 licensing policies do not regulate the manner of bearing arms or impose reasonable

 training and safety requirements. No, their purpose and effect is to limit the number

 of arms borne in public, and to the extent this leads to a reduction of gun crime, that

 is only a byproduct of this suppression of the quantity of core Second Amendment

 conduct. As the state courts have explained, “the overriding philosophy of our

 Legislature is to limit the use of guns as much as possible.” State v. Valentine, 124

 N.J. Super. 425, 427 (App. Div. 1973). Or as the President of the New Jersey Senate

 recently stated, “This is New Jersey. It’s not some State that thinks everyone should

 be carrying a gun . . . . [C]oncealed weapons don’t belong in New Jersey.” Steve

 Sweeney, President, New Jersey Senate, Remarks, N.J. Governor and Attorney

 General Announce Intention to Tighten Restrictions on Handgun-Carry Permits at

 12:55 (Jan. 26, 2018), available at https://goo.gl/U4iTET.

       Indeed, Defendants’ purpose is clear from their own description of the

 justification of the challenged law: “It is New Jersey’s judgment that when an

 individual carries a handgun in public for his or her own defense he or she

 necessarily exposes members of the community to a somewhat heightened risk that

 they will be injured by that handgun.” MTD Brief 16–17. But the People weighed

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 both the risks and benefits and of the right to keep and bear arms when they wrote it

 into the Constitution; New Jersey is not free to “conduct” that “interest balancing

 . . . for them anew.” Heller, 554 U.S. at 635.

       As the D.C. Circuit concluded, limits like Defendants’ “justifiable need”

 restriction “destroy[ ] the ordinarily situated citizen’s right to bear arms not as a side

 effect of applying other, reasonable regulations . . . . but by design.” Wrenn, 864

 F.3d at 666. That is “not a permissible strategy,” Grace, 187 F. Supp. 3d at 148,

 under any level of heightened scrutiny.

       2.     Even if these objections are set aside, the heightened need requirement

 still flunks intermediate scrutiny, and Drake was still wrong to uphold it. To survive

 intermediate scrutiny, a restriction must be “substantially related to the

 achievement” of the government’s objective. United States v. Virginia, 518 U.S.

 515, 533 (1996). “The burden of justification is demanding and it rests entirely on

 the State.” Id. As Judge Posner concluded after surveying “the empirical literature

 on the effects of allowing the carriage of guns in public,” that data does not provide

 “more than merely a rational basis for believing that [an outright ban on public

 carriage] is justified by an increase in public safety.” Moore, 702 F.3d at 939, 942.

       This is confirmed by experience. Forty-two States do not restrict the carrying

 of firearms to a privileged few. See Gun Laws, NRA-ILA, https://goo.gl/Nggx50.

 Yet “many years of evidence across different states and time periods

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 overwhelmingly rejects” the claim that “permit holders will use their guns to commit

 crimes instead of using their guns for self-defense.” David B. Mustard, Comment, in

 EVALUATING GUN POLICY 325, 330 (Jens Ludwig & Philip J. Cook eds., 2003); see

 also id. at 330–31. As social scientists in favor of gun control have acknowledged,

 there would be “relatively little public safety impact if courts invalidate laws that

 prohibit gun carrying outside the home, assuming that some sort of permit system

 for public carry is allowed to stand,” since “[t]he available data about permit holders

 . . . imply that they are at fairly low risk of misusing guns.” Philip J. Cook et al., Gun

 Control After Heller, 56 UCLA L. REV. 1041, 1082 (2009).

       Further, even if laws that more freely grant permits have not been shown to

 decrease crime, there is no persuasive evidence that they increase crime—and that

 is the proposition Defendants must support. For instance, in 2004 the National

 Academy of Sciences’ National Research Council (“NRC”) conducted an exhaustive

 review of the relevant social-scientific literature. The NRC concluded that “with the

 current evidence it is not possible to determine that there is a causal link between the

 passage of right-to-carry laws and crime rates.” NATIONAL RESEARCH COUNCIL,

 FIREARMS AND VIOLENCE: A CRITICAL REVIEW 150 (Charles F. Wellford, John V.

 Pepper, & Carol V. Petrie eds., 2005), http://goo.gl/WO1ZNZ. See also Robert Hahn

 et al., Firearms Laws and the Reduction of Violence: A Systematic Review, 28 AM.

 J. PREVENTATIVE MED. 40, 53–54 (2005), http://goo.gl/zOpJFL (CDC study

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 concluding that existing evidence does not establish that more permissive carry

 regimes “increases rates of unintended and intended injury”).

       Drake’s cursory discussion of whether New Jersey’s “justifiable need”

 requirement actually advances its public-safety justification fell far short of the

 court’s duty “to assure that, in formulating its judgments, [New Jersey] has drawn

 reasonable inferences based on substantial evidence.” Turner Broad. Sys., Inc. v.

 FCC, 512 U.S. 622, 666 (1994). The sum total of the “evidence” discussed by the

 court in purportedly conducting intermediate scrutiny was confined to: (1) a “staff

 report” evaluating “the utility of firearms as weapons of defense against crime” that

 was published in 1968, and (2) the fact that “[l]egislators in other states, including

 New York and Maryland, have reached this same predictive judgment and have

 enacted similar laws as a means to improve public safety.” Drake, 724 F.3d at 438.

 But a law that “imposes current burdens . . . must be justified by current needs,”

 Shelby Cty. v. Holder, 570 U.S. 529, 536 (2013), and a single study from fifty years

 ago hardly constitutes “substantial evidence” that New Jersey’s restriction can be

 said, in light of the current empirical evidence, to materially advance public safety.

 Nor does the bare fact that a handful of other jurisdictions have enacted similar

 restrictions suffice, without at least some analysis of whether those laws are effective

 in preventing violent crime or are themselves supported by substantial evidence.




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 After all, the vast majority of States do not restrict their citizens’ right to carry in this

 way.

        The lack of evidence that these laws advance public safety should not be

 surprising, because violent criminals will continue to carry guns in public regardless.

 As the Supreme Court recently held in the context of abortion restrictions,

 “[d]etermined wrongdoers, already ignoring existing statutes and safety measures,

 are unlikely to be convinced to [change their conduct] by a new overlay of

 regulations.” Whole Woman’s Health v. Hellerstedt, 136 S. Ct. 2292, 2313–14

 (2016). This is not a novel proposition. In a passage Thomas Jefferson copied into

 his personal quotation book, the influential Italian criminologist Cesare Beccaria

 reasoned that laws forbidding the

        wear[ing of] arms . . . disarm[] those only who are not disposed to
        commit the crime which the laws mean to prevent. Can it be supposed,
        that those who have the courage to violate the most sacred laws of
        humanity, and the most important of the code, will respect the less
        considerable and arbitrary injunctions, the violation of which is so easy,
        and of so little comparative importance? . . . [Such a law] certainly
        makes the situation of the assaulted worse, and of the assailants better,
        and rather encourages than prevents murder.

 See Stephen P. Halbrook, What the Framers Intended: A Linguistic Analysis of the

 Right To “Bear Arms,” 49 LAW & CONTEMP. PROBS. 151, 154 (1986).

        Instead of criminals, it is primarily the law-abiding who are affected by

 Defendants’ restrictions. And that effect has very real public-safety costs—costs that

 Defendants entirely ignore. Although the number of defensive gun uses is difficult
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 to measure, the leading study on the issue, the National Self-Defense Survey,

 “indicate[s] that each year in the U.S. there are about 2.2 to 2.5 million [defensive

 uses of guns] of all types by civilians against humans.” Gary Kleck & Marc Gertz,

 Armed Resistance to Crime: The Prevalence and Nature of Self-Defense With a Gun,

 86 J. CRIM. L. & CRIMINOLOGY 150, 164 (1995). “At least 19 other surveys have

 resulted in [similar] estimated numbers of defensive gun uses.” NATIONAL

 RESEARCH COUNCIL, supra, at 103. Many of these defensive gun uses involve

 carrying firearms in public. The National Self-Defense Survey indicates that

 “anywhere from 670,000 to 1,570,000 [defensive gun uses] a year occur in

 connection with gun carrying in a public place.” Gary Kleck & Marc Gertz, Carrying

 Guns for Protection: Results from the National Self-Defense Survey, 35 J. RESEARCH

 IN   CRIME & DELINQUENCY 193, 195 (1998). Any realistic appraisal of existing

 social-scientific data thus leads inexorably to the conclusion that the “justifiable

 need” requirement cannot be shown to benefit the public safety—but it may well

 harm it.

         3.   Even if Defendants’ “justifiable need” restriction did advance public

 safety, it independently fails heightened scrutiny because it is not properly tailored

 to that purpose. While laws subject to intermediate scrutiny “need not be the least

 restrictive or least intrusive means of serving the government’s interests,” they still

 must be narrowly tailored, possessing “a close fit between ends and means.”

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 McCullen v. Coakley, 134 S. Ct. 2518, 2534–35 (2014) (quotation marks omitted).

 Here, there is an utter lack of fit between Defendants’ restrictions and their purported

 objective of public safety. After all, “the fact that a person can demonstrate a

 heightened need for self-defense says nothing about whether he or she is more or

 less likely to misuse a gun.” Grace, 187 F. Supp. 3d at 149. “This limitation will

 neither make it less likely that those who meet the [justifiable need] requirement will

 accidentally shoot themselves or others, nor make it less likely that they will turn to

 a life of crime. Put simply, the solution is unrelated to the problem it intends to

 solve.” Drake, 724 F.3d at 454 (Hardiman, J., dissenting).

 IV.   Defendants Oxley and Conforti are not entitled to judicial immunity.

       Finally, the State is wrong to contend that Defendants Oxley and Conforti—

 the New Jersey judges who denied the Handgun Carry Permit applications of

 Plaintiff Rogers and the member of the Association of New Jersey Rifle & Pistol

 Clubs described in the complaint—are protected from this lawsuit by “absolute

 judicial immunity.” MTD Brief 18. While state judicial officers are immune from

 injunctive relief based on acts taken in their “judicial capacity,” 42 U.S.C. § 1983,8


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         Defendants rely on the judicial immunity “established at common law,”
 MTD Brief 18, but as the Supreme Court’s decision in Pulliam v. Allen makes clear,
 the common-law immunity discussed in the cases Defendants cite does not bar
 “prospective injunctive relief against a judicial officer acting in her judicial
 capacity,” 466 U.S. 522, 541–42 (1984); see also MTD Brief 18 (citing cases that
 all involve “liability for damages”). Following the Supreme Court’s decision in

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 Defendants concede that judicial immunity does not extend to “nonjudicial actions,

 i.e., actions not taken in the judge’s judicial capacity.” MTD Brief 19 (quoting

 Mireles v. Waco, 502 U.S. 9, 12 (1991)). And New Jersey law makes clear beyond

 any doubt that the state judge’s role in administering the handgun permitting regime

 is quintessentially nonjudicial.

       As the New Jersey Supreme Court held in Siccardi v. State, “[t]he legislative

 designation of the judiciary as the issuing authority . . . burdened the Justices with

 functions which were clearly nonjudicial in nature; indeed the Justices might well

 have declined the designation as unduly interfering with the proper discharge of their

 judicial responsibilities.” 59 N.J. 545, 553 (1971) (emphasis added). In In re Pries,

 the Supreme Court reiterated that in providing for “a Superior Court judge to issue

 [each Handgun Carry] permit . . . the Legislature has reposed what is essentially an

 executive function in the judicial branch. We have acceded to that legislative

 delegation . . . although we ‘might well have declined the designation’ because the

 ‘functions . . . were clearly non-judicial in nature.’ ” 573 A.2d at 151 (last alteration

 in original) (emphasis added) (quoting Siccardi, 59 N.J. at 553). The relief Plaintiffs

 seek against Defendants Oxley and Conforti in this action would thus affect the very


 Pulliam, Congress amended Section 1983 to partially restore judicial officers’
 immunity from injunctive relief. See 42 U.S.C. § 1983; Brandon E. ex rel. Listenbee
 v. Reynolds, 201 F.3d 194, 197–98 (3rd Cir. 2000). Any immunity Defendants Oxley
 and Conforti may enjoy thus arises from this amendment to Section 1983, not the
 common law.
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 paradigm of those “administrative . . . or executive functions that judges may on

 occasion be assigned by law to perform” that are not “entitled to immunity.”

 Forrester v. White, 484 U.S. 219, 227 (1988).

       Finally, even if Defendants Oxley and Conforti were immune from suit,

 Defendants do not dispute that no immunity protects the remaining defendants:

 Attorney General Grewal, Superintendent Callahan, and Chief Brown. Their

 presence as parties defendant is sufficient to allow the case to go forward, and

 Defendants do not suggest otherwise.

                                 CONCLUSION

       For the foregoing reasons, Defendants’ motion to dismiss Judge Oxley and

 Judge Conforti from the suit should be denied, and Drake should be overruled by a

 court competent to do so.


 Dated: April 23, 2018                       Respectfully submitted,

 David H. Thompson*                          s/ Daniel L. Schmutter
 Peter A. Patterson*                         Daniel L. Schmutter
 John D. Ohlendorf*                          HARTMAN & WINNICKI, P.C.
 COOPER & KIRK, PLLC                         74 Passaic Street
 1523 New Hampshire Avenue, N.W.             Ridgewood, New Jersey 07450
 Washington, D.C. 20036                      (201) 967-8040
 (202) 220-9600                              (201) 967-0590 (fax)
 (202) 220-9601 (fax)                        dschmutter@hartmanwinnicki.com
 dthompson@cooperkirk.com

 *Appearing pro hac vice

                              Attorneys for Plaintiffs

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                          CERTIFICATE OF SERVICE

       I hereby certify that on April 23, 2018, I electronically filed the foregoing

 with the Clerk of the Court using the CM/ECF system, which will cause a copy of

 the document to be served electronically on all parties or their counsel.


                                            s/ Daniel L. Schmutter
                                            Daniel L. Schmutter

                                             Attorney for Plaintiffs
